       Case 1:13-cv-02603-AT Document 87 Filed 01/09/14 Page 1 of 2
                                                                     FILED IN CHAMBERS
                                                                        u.s. D.C. - Rome
                                                                           JAN 092014
                                                                     JACflfjAT1t8      Clerk
                                                                            .L:1bCo~puty Clerk
                 IN THE UNITED STATES DISTRICT COURT                           ()
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CHARLES COFER AND AMY COFER,                        )
                                                    )
       Plaintiffs,                                  )
                                                    )
      v.                                            )
SECURE CASH SYSTEMS, LLC D/BIA SCS   )
PRIVATE FUNDING; RAY MCNEIL; LINDA   ~                   CIVIL ACTION FILE
KIRKLAND; AMERICAN EAGLE                                 NO. I: 13-cv-02603-RLV
CONSULTANTS, INC; ARTHUR GEISS;      ~
SCOTT O'NEIL; GAYLIN WARE; TOTAL
CHOICE CORPORATION; KENNETH ENRICO; )
THE ENRICO CORP.; and DOE DEFENDANTS ~
1-5,                                 )
                                                    )
       Defendants.

                                   JUDGMENT

      The defendant THE ENRICO CORP. having failed to plead or otherwise to

defend in this action and default having been duly entered, and the Court, Robert

L. Vining, Jr., United States District Judge, by order dated December 18, 2013,

having directed that judgment issue in favor of plaintiffs and against the defendant,

it is hereby

      ORDERED AND ADJUDGED that the plaintiffs CHARLES COFER and

AMY COFER recover from THE ENRICO CORP. in the amount of $241,500.00

plus attorneys' fees in the amount of $72,450.00 plus expenses of litigation in the


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amount of $567.07 plus interest from the date of judgment as provided by law

together with the costs of this action.

      Dated at Atlanta, Georgia this      'I!!'" day Of_-----'~"F'-'=-.;...---' 2014.



                                             on. Robert L. Vining
                                           Judge, United States s ict Court
                                           Northern District of Georgia

Prepared by:


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